                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

Kathryn Knowlton et al.,
                                                 Plaintiffs,           Case No. 20-CV-1660
                      v.
                                                                       MINUTE SHEET
City of Wauwatosa et al.,
                                                 Defendants.



Hon. Nancy Joseph, presiding.                          Deputy Clerk: Ross Miller
Type of Proceeding: STATUS CONFERENCE
Date: July 29, 2021 at 11:00am                         Court Reporter: Zoom
Time Commenced: 11:03am                                Time Concluded: 11:18am

Appearances:            Plaintiff:       Kimberley Motley, Kathryn Knowlton, Milo Schwab
                        Defendant:       Jasmyne Baynard

Comments:

Matter in court for status conference requested by parties regarding discovery and deadlines.

PLAINTIFFS

   -   Parties have spoken about possible mutual agreement regarding amending the complaint.
   -   Requesting Amended Pleading be filed by 8/20/21 and any responses filed by 9/10/21.
   -   Do not want to modify any other part of the scheduling order.
   -   Requesting a future status conference to discuss outstanding discovery issues.

DEFENDANTS

   -   Parties have agreement regarding amended pleadings.
   -   Wants to keep discovery moving ahead.
   -   Does not know what amended complaint will look like.
   -   May have to address scheduling dates after amended complaint is filed.

COURT

   -   Court orders Defendants to release the drone video to Plaintiffs restricted to Attorneys Eyes
       Only.
   -   Defendant to file a motion regarding protective order by August 6th, 2021.
   -   Court amends the scheduling order as follows: Amended Complaint to be filed by August 20,
       2021 and any Responses to be filed by September 10, 2021.
   -   Court will set a new hearing once motion for protective order is filed and fully briefed, or, if
       motion is not filed by the deadline.

                 Case 2:20-cv-01660-NJ Filed 07/29/21 Page 1 of 1 Document 41
